United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Nightingale, et al., . Case No. 3:19-cv-03512

Plaintiff(s),

APPLICATION FOR ADMISSION OF
v. ATTORNEY PRO HAC VICE
(CIVIL LOCAL RULE 11-3)

USCIS, et al. ,
Defendant(s).
I, Raul A. Pinto , an active member in good standing of the bar of
North Carolina , hereby respectfully apply for admission to practice pro hac
vice in the Northern District of California representing: __ Plaintiffs in the
above-entitled action. My local co-counsel in this case is Stacy Tolchin , an

attorney who is a member of the bar of this Court in good standing and who maintains an office

within the State of California. Local co-counsel’s bar number is: 217431

1331 G St. NW, St 200, Washington, DC 20005 776 E. Green St., Suite 210, Pasadena, CA 91101
MY ADDRESS OF RECORD LOCAL CO-COUNSEL’S ADDRESS OF RECORD
202-507-7549 213-622-7450
MY TELEPHONE # OF RECORD LOCAL CO-COUNSEL’S TELEPHONE # OF RE€ORD
rpinto@immcouncil org stacy@tolchinimmigration.com

My EMAIL ADDRESS OF RECORD LOCAL CO-COUNSEL’S EMALL ADDRESS OF RECORD

fam an active member in good standing of a United States Court or of the highest court of
another State or the District of Columbia, as indicated above: my bar number is: 42310

A true and correct copy of a certificate of good standing or equivalent official document
from said bar is attached to this application.

| have been granted pro hac vice admission by the Court 2 times in the 12 months

preceding this application.

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| agree to familiarize myself with, and abide by, the Local Rules of this Court, especially
the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

Rules. I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 18, 2023 Raul A. Pinto
APPLICANT

ORDER GRANTING APPLICATION
FOR ADMISSION OF ATTORNEY PRO HAC VICE

IT IS HEREBY ORDERED THAT the application of Raul A. Pinto is

granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
counse] designated in the application will constitute notice to the party.

Dated:

UNITED STATES DISTRICT/MAGISTRATE JUDGE

Updated 11/2021 2

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Supreme Court
OF THE STATE OF NORTH CAROLINA

I, Grant E. Buckner, Clerk of the Supreme Court of North Carolina, do hereby certify
that on March 26, 2011, license to practice as an Attorney and Counselor at Law in all the

Courts of this State was issued by the North Carolina Board of Law Examiners to

Raul Alfredo Pinto

according to the certified list of licentiates reported by the Secretary of said Board and filed
in my office as required by statute.

To the date of this certificate, no order revoking said license has been filed with this
Court and no order suspending same is in effect.

WITNESS my hand and the Seal of the Supreme Court of North Carolina at office in

Raleigh, this July 5, 2023. ‘

o ~ s Grant E, Buckner
~ Clerk of the Supreme Court
of the State of North Carolina

